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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) IMOGENE HERNDON,
as Special Administrator of the
Estate of Butch Thomas
Herndon, deceased,

                                     Plaintiff,

vs.                                                      CASE NO. CIV-23-86-F

(1) CITY OF CLINTON,
OKLAHOMA,
(2) PAUL RINKEL,
individually and in his official
capacity as the Chief of Police
for Clinton, Oklahoma
(3) SHANE HARRELSON,
(4) PETER PORCHER,
(5) LACEY HULETT,
(6) CARTER SCOTT, and
(7) SINOR EMERGENCY
MEDICAL SERVICE, INC.,

                                     Defendants.

                                           COMPLAINT

         COMES NOW Plaintiff Imogene Herndon, as Special Administrator for the Estate of Butch

Thomas Herndon, deceased, for her cause of action against Defendants City of Clinton (“Clinton”),

Paul Rinkel (“Rinkel”), Shane Harrelson (“Harrelson”), Peter Porcher (“Porcher”), Lacey Hulett

(“Hulett”), Carter Scott (“Scott”), and Sinor Emergency Medical Service, Inc. (“Sinor”) alleges and

states as follows:

                           JURISDICTION, VENUE, AND PARTIES

      1. At all times material hereto, Butch Herndon was a citizen and resident of Custer County
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2. Plaintiff Imogene Herndon is a citizen and resident of Clinton and was appointed the Special

   Administrator for the Estate of Butch Thomas Herndon in Custer Count Case No. PB-

   2022-66 on December 1, 2022.

3. All of the acts complained of occurred in the Western District of Oklahoma and each of the

   defendants is capable of being served within the Western District.

4. This court has jurisdiction over the parties hereto and the subject matter hereof.

5. Defendant Rinkel, at all times relevant to the claims alleged herein, was a citizen of the State

   of Oklahoma and Chief of Police for the City of Clinton. Rinkel engaged in the conduct

   complained of under color of law and in the scope of his employment with the City of

   Clinton. As the Chief of Police, Rinkel is the final policymaker for matters of law

   enforcement in the City of Purcell, as set out in the City Ordinances of the City of Clinton

   §1-8B-1. Rinkel has the authority to train, supervise, monitor, and discipline officers under

   his command. Defendant Rinkel is sued in both his individual and official capacity. Rinkel

   was responsible for ensuring that all officers, including Defendants Harrelson, Porcher,

   Hulett, and Scott, were adequately trained in regards to exercising the necessary force to

   accomplish an arrest and identifying and interacting with intoxicated, physically ill and/or

   mentally ill/unstable members of the community.

6. At all times material hereto, the City of Clinton was a municipality and political subdivision

   located in Custer County and was responsible for the operation of the Clinton Police

   Department, its law enforcement officers, and the Clinton City Jail. As such, Clinton may

   sue or be sued by name and has the authority to employ law enforcement officers, appoint a

   police chief, operate the city jail, and delegate to the police chief final policy and decision-

   making authority regarding law enforcement matters for the City of Clinton. At all times

   relevant to the allegations herein, Clinton was the employer of Defendants Rinkel,
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     Harrelson, Porcher, Hulett, and Scott. In the alternative to paragraph 5, above, the City of

     Clinton maintains supervisory responsibilities and control over the City of Clinton Police

     Department through the City Manager.

  7. Defendant Harrelson was, at all relevant times, a sworn Clinton Police Officer, employed by

     and working for Defendant Clinton. Defendant Harrelson engaged in the conduct

     complained of under color of law and in the scope and course of his employment with

     Defendant Clinton.

  8. Defendant Porcher was, at all relevant times, a sworn Clinton Police Officer, employed by

     and working for Defendant Clinton. Defendant Porcher engaged in the conduct complained

     of under color of law and in the scope and course of his employment with Defendant

     Clinton.

  9. Defendant Hulett was, at all relevant times, a sworn Clinton Police Officer, employed by and

     working for Defendant Clinton. Defendant Hulett engaged in the conduct complained of

     under color of law and in the scope and course of his employment with Defendant Clinton.

  10. Defendant Scott was, at all relevant times, a sworn Clinton Police Officer, employed by and

     working for Defendant Clinton. Defendant Scott engaged in the conduct complained of

     under color of law and in the scope and course of his employment with Defendant Clinton.

  11. Defendant Sinor is an emergency medical services provider, who was responsible for

     providing emergency medical care during the events described herein. Defendant Sinor is

     not a governmental entity and was not acting as a state actor at the time of the events

     described herein.

COMPLIANCE WITH THE OKLAHOMA GOVERNMENTAL TORT CLAIMS ACT, 51
                        O.S. §§ 151, et seq.

  12. Plaintiff timely complied with all requirements and obligations pursuant to the Oklahoma

     Governmental Tort Claims Act before filing this lawsuit.
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13. The required notice of Plaintiff’s tort claim was sent to Defendant Clinton, via certified mail,

    on May 6, 2021. The notice was received and signed for by Clinton on May 9, 2022.

14. Plaintiff’s tort claim was deemed denied on August 7, 2022.

15. Plaintiff is now filing this lawsuit within 180 days of that deemed denial.

                                FACTUAL BACKGROUND

                                       Arrest of Butch

16. On August 31, 2021, Butch Herndon was arrested by the Clinton Police Department for

    public intoxication.

17. At approximately 12:15 p.m., Defendants Rinkel, Hulet, Porcher, Scott, and Harrelson all

    responded to the call complaining of Butch’s behavior.

18. It was extremely hot out that day, with temperatures in excess of 90 degrees.

19. Butch was not acting violently prior to or during his arrest by Defendants.

20. Defendant Rinkel was the first officer on the scene and first officer to make contact with

    Butch.

21. Rinkel saw Butch standing on the side of the road and stopped his patrol car. He ordered

    Butch to get on the ground and Butch immediately complied and even placed his hands

    behind his back before ordered to do so.

22. Butch did not in any way attempt to evade or resist Rinkel placing handcuffs on Butch.

23. Defendants Porcher and Scott then took control of Butch, but Rinkel remained present at

    the scene of the arrest during the entire time the following events unfolded.

24. At this time, Butch told Defendants Scott and Porcher that he was dehydrated. Defendant

    Rinkel heard that statement as well.
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25. Butch complied with all orders given to him, answered the questions asked of him, and was

   in no way physically or verbally hostile or threatening to any officer or person on the scene

   and made no attempts to escape or resist arrest.

26. Defendant Scott recognized that Butch was extremely sweaty and asked Butch why he was

   so sweaty, to which Butch replied that he broke a fever. Scott acknowledged that he had

   heard about Butch’s fever the day before when Butch was at the Clinton City Jail.

27. Butch also informed Defendant Scott that he got high “just earlier” and had been walking all

   day.

28. Butch calmly and compliantly stood with Scott, even standing completely still at the door to

   the backseat of the patrol car while Scott got the keys and unlocked the door.

29. Porcher and Scott placed Butch into the backseat of their patrol car with handcuffs on and

   without incident, while they remained at the scene talking to other officers and witnesses.

30. Scott made sure at this point to tell Defendant Rinkel that Butch had Hepatitis C, to which

   Rinkel responded “Lovely. I know he’s sweating all over everything.”

31. After placing Butch in their patrol car, Porcher and Scott explicitly discussed that Butch was

   intoxicated, had glassy eyes with dilated pupils, was unsteady on his feet, had slurred and

   erratic speech, and did not smell of alcohol.

32. A few minutes after Butch was placed into the car, Porcher opened the door and pulled

   Butch, who was lying on his back in the backseat, up into a sitting position while yelling at

   him.

33. Butch specifically asked Porcher to take him to the emergency room.

34. Instead, Porcher pulled Butch out of the backseat of the car and threw him on the ground,

   while still handcuffed and not doing anything to evade arrest or pose a threat to anyone.
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35. After Butch’s death, described below, Defendants Porcher and Scott wrote false police

   reports claiming that Butch had been kicking the cage in the backseat of the patrol car and

   that when officers opened the door, Butch used his legs to lunge out of the vehicle and onto

   the ground, despite officers purportedly trying to catch him.

36. Despite Butch being handcuffed and laying or sitting on the ground, Porcher and Scott

   continued to alternate between slamming Butch to the ground, pulling him back up to sit up,

   and pushing him down on the ground in a manner which knowingly restricted his ability to

   breathe, including repeatedly placing him in a prone position with knees and bodyweight on

   his neck, back, legs, and side.

37. All the while, officers knew and could see and hear that Butch was vomiting repeatedly on

   top of the other observed and explicitly discussed symptoms Butch was having.

38. Defendant Rinkel was present and standing right near the vehicle and Defendant Porcher

   when Porcher slammed Butch down face first into the curb and pavement and watched his

   subordinate officers repeatedly slam Butch on the ground in a prone position and put their

   bodyweight on his back, neck, legs, and side while Butch was vomiting and struggling to

   breathe.

39. Butch was audibly struggling to breathe during these repeated uses of unnecessary force and

   continued vomiting and heaving, having fecal incontinence, and his face began losing color

   and his lips taking on a purplish hue.

40. Despite Butch’s condition and despite the fact that he posed no threat of escape nor harm to

   any person while still handcuffed, Porcher and Scott continued to repeatedly exert

   unnecessary force on Butch, still repeatedly alternating between throwing him on the

   ground, pulling him back up to sit up, and pushing him down on the ground with knees and

   bodyweight on his neck, back, and legs, making it harder for Butch to breathe.
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41. These repeated unnecessary and excessive uses of force went on for approximately 15

   minutes despite their knowledge of Butch’s serious and obvious need for emergency medical

   care.

             Butch’s Condition Obviously Declined at the Scene of Arrest

42. As this continued, Butch continued to be extremely sweaty, continued vomiting repeatedly,

   was audibly struggling to breathe, continued suffering fecal incontinence while being

   manhandled by officers for no purpose, and repeatedly requested to be taken to the hospital.

43. Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett observed and were aware of these

   readily apparent signs that Butch was overdosing on drugs or severely physically ill.

44. Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett were aware that Butch had stated

   he was dehydrated and had broken a fever.

45. Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett’s observations of Butch made each

   of Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett aware that there was a

   substantial risk that Butch was suffering from a drug overdose or was severely physically ill,

   as they could see and hear him vomiting and heaving, knew he was struggling to breathe, and

   knew he was having fecal incontinence.

46. Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett were aware that there was a

   substantial risk to the health and safety of Butch.

47. Despite Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett’s subjective knowledge

   and awareness of Butch’s objectively serious symptoms, Defendants Rinkel, Scott, Porcher,

   Harrelson, and Hulett did not seek appropriate medical attention for Butch by having him

   taken to the hospital.
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                Butch is Denied Medical Care at the Scene of the Arrest

48. During the continued manhandling of Butch, Defendant Rinkel acknowledged that Butch

    was intoxicated and in need of medical care, issuing an order to call for EMTs - Defendant

    Sinor’s employees - to the scene.

49. Officers, including Defendant Rinkel asked Butch what he had taken. Chief Rinkel even

    stated that it was important for Butch’s health that he tell them what he took.

50. Before EMTs arrived, Butch told Defendants Rinkel, Scott, and Porcher, that he had taken

    narcotics that day.

51. Even after the call for an ambulance, Defendants Porcher and Scott continued to exert

    unnecessary and excessive force on Butch, continuing to slam him to the ground, put him in

    the prone position with bodyweight on his neck, back, legs, and side, then sitting him up so

    the whole process could begin again.

52. Butch attempted to move so he could breathe and get off of the hot pavement, which could

    be as hot as 140 degrees when the temperature outside is 95 degrees, and Defendant Scott

    unnecessarily, excessively, and with disregard for all of the obvious and serious signs of

    Butch’s medical distress pushed Butch’s head down into the grass next to the road.

53. At this point, while struggling to breathe, Butch again asks to be taken to the hospital.

54. Defendant Scott responded by pushing Butch back down on the ground harder with his

    bodyweight and yelling at Butch not to move.

55. At this point, Defendant Hulett arrived on the scene and witnessed Butch’s severe and

    obvious condition and the unnecessary uses of force against Butch.

56. Hulett did nothing to stop the excessive use of force taking place in front of her.

57. Hulett repeatedly stood on Butch’s legs while he was in the prone position with a knee in his

    back or neck.
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58. At this point, Defendant Sinor’s employees approached Butch, and Defendant Porcher told

    them that the officers needed Butch cleared before they could take him to the jail because he

    projectile vomited.

59. Porcher specifically did not tell the EMTs that Butch was dehydrated, was intoxicated, had

    glassy eyes with dilated pupils, was unsteady on his feet, had slurred and erratic speech, had

    been vomiting for several minutes, was having fecal incontinence, had repeatedly requested

    to go to the hospital, or that Butch had admitted to taking narcotics earlier that day.

60. This deliberate withholding of serious information from Defendant Sinor’s EMTs deprived

    them of full knowledge and capability to assess, evaluate, provide emergency medical

    treatment at the scene, or to take Butch to the hospital at that time.

61. Instead, Porcher just told the EMTs that they needed his vitals checked so they could clear

    him to take him to the jail.

62. Defendant Sinor’s employees placed a blood pressure cuff on Butch but were unable to get a

    reading as Butch moved, again presenting no threat of harm to anyone, and Defendant Scott

    again slammed Butch down to the ground and pushed his head down into the grass while

    also putting his knee and bodyweight on Butch’s upper back, making it hard for Butch to

    breathe.

63. Butch tried to lift his head to breathe, but Defendant Scott continued to hold Butch’s head

    down while Defendants Hulett and Porcher stood on Butch’s legs.

64. Finally Butch is sat back up, with Defendant Scott pushing Butch’s head forward and down.

65. Defendant Sinor’s employees again put a blood pressure cuff on Butch and also placed a

    pulse meter on his finger. While medics were trying to get these readings, Defendant Scott

    continued to forcefully push Butch’s head forward and down.

66. Butch then yells that “You all are going to kill me.”
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67. While Defendant Sinor’s employees were pumping up the blood pressure cuff, Defendant

   Scott forcefully pushed Butch’s head down nearly into his own lap, and Butch could be

   heard struggling to breathe.

68. Butch attempted to move so he could breathe, again posing no threat of harm to anyone,

   and Defendant Scott again slams Butch’s face down into the grass and places his knee and

   bodyweight on Butch’s back and neck.

69. This disrupted Defendant Sinor’s employees from being able to finish checking Butch’s

   vitals.

70. Despite their knowledge that Defendant Sinor’s employees were unable to check Butch’s

   vital signs, Defendants Porcher, Scott, Rinkel, and Harrelson made a deliberate – even

   discussing the matter – decision not to take Butch to the hospital for treatment or to be

   cleared to be taken to the jail.

71. Defendant Rinkel asked if they should take Butch to the hospital given his condition. Each

   of Defendants, Porcher, Scott, and Harrelson heard the question from Defendant Rinkel.

72. Despite Butch’s known intoxication on drugs, and his obviously deteriorating condition

   indicating a drug overdose or severe physical illness, Defendants Porcher and Harrelson said

   that Butch did not need to go the hospital and that if they took him there - he would just

   destroy a hospital room.

73. This statement was made even though Butch had not been violent, aggressive, or disorderly

   throughout the entire encounter.

74. Chief Rinkel stood right there and acquiesced to the decision to not take Butch to the

   hospital despite his obvious signs of drug overdose and acquiesced to the reasons given by

   Defendants Porcher and Harrelson for not taking Butch to the hospital. So, too, did

   Defendants Scott.
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75. Butch was still audibly struggling to breathe and Porcher and Scott continued to hold him

   down with their bodyweight on him.

76. While being held down, Butch began vomiting more and his body was moving back and

   forth as he heaved with increasing intensity.

77. Defendant Scott, during this vomiting episode, continued to push Butch down into the

   ground with his knee on Butch’s back and his hands holding Butch’s shoulder down, telling

   Butch to stay on his stomach.

78. Defendant Porcher stated that “With how much has come up [during Butch’s vomiting], I

   don’t know how much he’s got left in there.” Later at the jail, Defendant Porcher would

   describe it as Butch having vomited in the amount of two liters.

79. Defendant Sinor’s employees then removed the blood pressure cuff and pulse meter.

80. At one point during this time, Defendant Scott unnecessarily threw Butch down so hard on

   the hot asphalt road that Defendant Porcher actually warned him not to bust Butch’s head

   open on the pavement. But neither Defendants Porcher, Harrelson, nor Rinkel took any

   effort to stop the unnecessary force and abuse.

81. Defendant Rinkel then placed leg shackles on Butch, despite having had them on scene the

   entire time, while Defendant Scott continued to hold Butch’s face down on the extremely

   hot pavement which temperatures are estimated at 140 degrees.

82. Butch then defecated himself again and Defendants Porcher and Scott were aware of it,

   groaning after it happened. Defendant Scott was still forcibly holding Butch’s head down to

   the ground at this point.

83. While Defendant Scott was still holding Butch down on the hot pavement, Butch struggled

   to speak but asked for water and saying “Please. It’s hot.”
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84. Defendants Porcher, Scott, Harrelson, Hulett, and Rinkel had all seen Butch’s serious

   condition with obvious signs of drug overdose and/or severe physical illness, and knew that

   Butch was in such a condition that he needed to be medically cleared before he could be

   taken to the jail.

85. Butch’s condition was so severe and obvious at this point that a reasonable officer in

   Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett’s position would have sought

   medical attention for Butch despite the incomplete attempt at an examination by employees

   of Defendant Sinor.

86. Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett posess specialized knowledge, as

   law enforcement officers, of the symptoms and typical duration of drug overdose and/or

   physical illness that was severe and would require medical attention.

87. In the alternative, Defendants Scott, Porcher, Harrelson, and Hulett should have been

   trained to possess specialized knowledge, as law enforcement officers, of the symptoms and

   typical duration of drug overdose and/or physical illness that would require medical

   attention, given the highly common occurrence of officers encountering citizens on drugs

   and/or experiencing drug overdose.

88. Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett’s decision not to seek medical care

   was not because Butch’s symptoms were not obvious and severe, nor the result of

   Defendants Rinkel, Scott, Porcher, Harrelson, and Hulett’s lack of subjective awareness of

   Butch’s need for medical attention, but instead was the result of Defendants Rinkel, Scott,

   Porcher, Harrelson, and Hulett’s conscious disregard of Butch’s severe and obvious medical

   crisis and their disgust that Butch was known to have Hepatitis C.

89. The words and actions of Defendants Porcher, Scott, Rinkel, Harrelson, Hulett, and Butch

   are recorded with audio on the officers’ body cameras and dashboard cameras.
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         Butch is Taken to Jail Rather than Provided Necessary Medical Care

90. Rather than take Butch to the hospital for his dire and obvious condition, Rinkel, Porcher,

   Scott, Harrelson, and Hulett made the decision to take Butch to the Clinton City Jail where

   there are no full-time medical providers and no medical equipment for treating inmates with

   obvious and severe symptoms of drug overdose.

91. As Defendants Porcher and Scott got Butch up to place him in their car, Defendant

   Harrelson asks Butch “What’d you take man?”

92. Butch’s condition was so seriously and obviously deteriorating that, at the time officers put

   him in the car to take him to the jail instead of the hospital, Butch was unable to move under

   his own effort and instead officers picked Butch up and stuffed him into the backseat of the

   patrol car, with his legs folded under him, as if he were an inanimate object and not a living

   human being in obvious, serious medical distress.

93. By the time Defendants Porcher and Scott put Butch in the car, his face was pale and his lips

   were purple – obvious signs of medical distress on top of the other obvious signs of medical

   distress Butch had been exhibiting.

94. Fire paramedics who had been on the scene since Defendant Sinor’s employees arrived,

   asked Defendant Porcher if they needed any help with Butch at the jail, to which Defendant

   Porcher said “We’ve got enough. We’re okay.”

95. Employees of Defendant Sinor, knowing they were unable to clear Butch medically, offered

   to follow officers back to the jail to tend to Butch due to his condition.

96. Defendant Harrelson told them no and that they were going to put Butch in a smaller cell

   and if he gets worse they would just “O.R.” him.

97. Scott and Porcher then drove him to the jail.
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98. Once putting Butch in the car, it was so hot that even Defendant Scott was out of breath

   and had to lean over the rear of his patrol car to recover. Defendant Porcher gagged or dry-

   heaved multiple times as well, due to the heat and the smell of Butch as he was covered in

   vomit and feces.

99. Defendant Porcher ordered Scott to exceed the speed limit stating, “let’s go man-come on-

   pick up the pace a little bit-there ain’t no speed limit for this shit – I’m not smelling this

   motherfucker.”

100.       The drive from the scene of the arrest to the jail took approximately 3 minutes and

   fifteen seconds. In that short amount of time, Butch’s condition continued to obviously,

   seriously, and rapidly decline. Still no officers made the decision to get Butch the medical

   attention he obviously needed.

101.       During the time Defendants Scott and Porcher had Butch in the car and were

   driving him to the jail despite his obviously serious and worsening condition, Defendant

   Porcher took the time to pull out his cell phone and take two “selfies” with Butch behind

   him in the backseat. Porcher texts the pictures to an unknown recipient.

                                 Butch Arrives at the Jail

102.       By the time Scott and Porcher arrived at the jail with Butch, he was unable to get out

   of the car, to stand, or to walk under his own effort.

103.       Despite their awareness of his obvious, serious, and deteriorating medical condition,

   officers attempted to get Butch out of the car and stand him up, but he immediately fell

   down on the ground face first into the pavement.

104.       While Defendants Scott and another officer were carrying Butch into the jail, and

   despite Scott’s full awareness of Butch’s obvious, serious, and deteriorating medical

   condition, rather than provide medical assistance, Scott angrily yelled at Butch to “Walk!”
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105.       At this point, Butch is still sweating profusely, unsteady on his feet, semi-conscious

   and can be heard heaving, having labored breathing, and moaning. The sounds of a dying

   man.

106.       Defendants Scott, Porcher, and Hulett, observed and were aware that Butch was

   unable to communicate, unable to walk or stand on his own, was very sweaty, was pale, had

   purple lips, and was covered in vomit and feces such that Defendants Scott, Porcher, and

   Hulett were aware of the substantial risk that Butch was suffering from drug overdose

   and/or physical illness that required immediate medical attention.

107.       A reasonable officer under the circumstances would have sought medical attention

   for Butch.

108.       Instead, Defendant Scott took Butch to a cell and screamed at him to “get in there.”

109.       At this point, Butch can clearly be heard with garbled speech, moaning, and heaving

   sounds. Butch tried to talk to officers but his speech was garbled and unintelligible.

110.       At one point, Butch screams out and Defendant Scott simply yells at him to “Stop

   fucking moving!”

111.       As they enter the cell, Butch stumbles forward into the cell and lands face down in

   the cold cement floor, still handcuffed and with leg irons on. Defendant Scott is behind

   Butch holding his right arm as Butch faceplants into the floor.

112.       Defendant Scott then placed his knee in Butch’s upper back, near his neck,

   significantly restricting his ability to breathe at a time when he was already audibly struggling

   to breathe without a grown adult’s bodyweight on his back.

113.       Defendant Scott then gets up and leaves Butch still lying in a prone position, with

   handcuffs and leg irons on.
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114.          As Butch continues to fight to breathe and stay alive, he attempts to roll over from

   the prone position while still handcuffed but Defendant Scott would not let him and instead

   jerked on the handcuffs to force Butch back into the prone position.

115.          Defendant Carter then, again and without justification, places his knee in Butch’s

   back while pulling on his cuffed hands. Another officer also has his knees on Butch’s legs at

   this time.

116.          Finally, Defendant Carter and the other officer get off of Butch. The handcuffs were

   taken off of Butch, but his left arm remained stuck behind his back and the leg irons were

   left on.

117.          Despite the obviousness of Butch’s serious medical condition, and the obvious

   substantial risk of harm posed to Butch’s health and safety, none of officers Scott, Porcher,

   and Hulett sought medical attention for Butch.

118.          After Butch has been left in the cell with no supervision/monitoring and stopped

   moving, Defendant Porcher walks by the cell and calls out Butch’s name. Butch did not

   respond. There was only silence from a dying man. Rather than check on him, Porcher walks

   away.

119.          About 30 seconds after Porcher walks away, officers can be heard laughing in the

   office on the “Book In” hall, not far from Butch.

120.          5 minutes after Defendant Porcher ignored Butch’s unresponsiveness, Defendant

   Rinkel walks by the cell and tells Butch to “get up on the bunk, okay.”

121.          Butch does not respond.

122.          Defendant Rinkel follows up by saying “Hello?” a couple of times and then slowly

   saunters back to the office - then calls for “Sarge”.

123.          At this point, Defendant Hulett and asks if he (Butch) is not moving.
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124.      Defendant Rinkel then tells the officers “you guys go in there and check on him.”

125.      The sense of urgency from the Chief of Police for Clinton is as if he were going to

   check on a load of laundry not a dying man.

                             Attempts to Resuscitate Butch

126.      Defendants Scott and Hulett walked toward Butch’s cell.

127.      In response to this clear medical emergency, officers Scott, Hulett, and Porcher still

   acted with no sense of urgency or basic human decency.

128.      Defendant Porcher, instead of helping with emergency care such as checking for a

   pulse or performing CPR, walked part of the way towards the cell holding Butch then turns

   back towards the office and says “Fuck this!” Further delaying emergency care for Butch.

129.      Defendant Porcher turned back to get aerosol disinfectant – a respiratory irritant –

   to spray on Butch through the cell bars at a time when Butch was dying and every breath,

   every second mattered.

130.      Defendant Porcher approaches the cell bars and sprays those with disinfectant spray

   and then puts the can and his arm through the bars and holds down the disinfectant spray

   button – spraying disinfectant all over the dying body of Butch. Further delaying emergency

   care for Butch.

131.      At this point, Defendant Hulett asks for an ambulance to be called and specifically

   stated to Defendants Porcher and Scott that she did not see Butch’s chest moving.

132.      Defendant Porcher then enters the cell, followed by Defendant Hulett.

133.      Defendant Porcher places his left hand on Butch’s midback and grabs Butch’s right

   wrist. Porcher tells Hulett and Scott that Butch does not have a pulse.

134.      Porcher then stopped and walked away.
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135.       Defendant Hulett then grabbed Butch by his ankles and lower leg and dragged him

   out of the cell, leaving a trail of bodily fluids behind.

136.       Defendant Hulett started chest compressions 90 seconds after stating that she did

   not see any breathing movement from Butch, and one minute since Defendant Porcher

   stated Butch did not have a pulse.

137.       One minute later, and two minutes after Butch was pulled from his cell, Defendant

   Hulett asks for the ambu bag, but no one has provided any air or breathing for Butch yet.

138.       Defendant Sinor’s EMTs arrived at the scene. One EMT asked if there is a pulse, to

   which Defendant Hulett responded “No.”

139.       No further questions about what happened to Butch were asked and Defendants

   Porcher, Scott, Hulett, Harrelson, and Rinkel do not offer up any other information

   regarding Butch’s condition.

140.       Defendants Porcher, Scott, Hulett, Harrelson, and Rinkel specifically did not tell the

   EMTs that Butch was dehydrated, was intoxicated, had glassy eyes with dilated pupils, was

   unsteady on his feet, had slurred and erratic speech, had repeatedly requested to go to the

   hospital, or that Butch had admitted to taking narcotics earlier that day.

141.       The ambu bag which Defendant Hulett requested was then thrown by Butch’s head.

142.       At this point, Defendant Sinor’s employees arrive and wheel in a gurney.

143.       Defendant Sinor’s employees were fully aware of the importance of every passing

   moment when a patient is not breathing and/or has no pulse.

144.       Rather than exercise ordinary care, which in this situation would call for a quick

   response, Defendant Sinor’s employees moved with no urgency and acted unreasonably

   and/or recklessly, and with disregard for the health and safety of Butch, in failing to provide

   Butch with the necessary immediate medical interventions.
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145.         While fire department paramedics were performing chest compressions on Butch,

   Defendant Porcher again pulls out his cell phone and takes a picture of Butch.

146.         About 90 seconds later, Porcher again pulls out his cell phone and takes a picture of

   Butch.

147.         Approximately 13 minutes after having arrived on the scene, Defendant Sinor’s

   EMTs finally ask other questions besides “Is there a pulse?”, asking “What happened?”

148.         Defendant Porcher responds “He never got up. He kept throwing up and dry

   heaving.”

149.         Defendants Porcher, Scott, Hulett, Harrelson, and Rinkel specifically did not tell the

   EMTs that Butch was dehydrated, was intoxicated, had glassy eyes with dilated pupils, was

   unsteady on his feet, had slurred and erratic speech, had repeatedly requested to go to the

   hospital, or that Butch had admitted to taking narcotics earlier that day.

150.         Finally, Defendant Sinor’s EMTs ask for a history on Butch.

151.         Defendant Carter only responds that Butch had pneumonia and has Hep C.

152.         Fifteen minutes after Defendant Sinor’s EMTs arrived on the scene, Butch is finally

   placed on a gurney. Still, Defendant Sinor’s EMTs have not performed a single chest

   compression on Butch, instead leaving it to two fire paramedics to do nearly all of the chest

   compressions.

153.         Finally, about seventeen minutes after Defendant Sinor’s EMTs arrived on scene,

   Butch leaves the jail in an ambulance headed toward the hospital.

                                THE CAUSES OF ACTION

       COUNT I: EXCESSIVE FORCE IN VIOLATION OF 42 U.S.C. § 1983

154.         Plaintiff incorporates all previous allegations and statements as if fully restated

   herein.
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   155.      Under the Fourth Amendment of the United States, every person in the United

      States of America has the right to be secure against unreasonable seizures of their person,

      and 42 U.S.C. § 1983 prevents individuals from acting in a government capacity or under

      color of law from unlawful deprivation of those rights.

Defendants Porcher, Scott, and Hulett.

   156.      Defendants Porcher, Scott, and Hulett’s conduct on August 31, 2021, specifically

      repeatedly beating and throwing Butch on the ground while handcuffed, placing their full

      body weight on his back, all while Butch was vomiting, defecating himself, had slurred

      speech, had glassy eyes, was uneasy on his feet, and struggling to breath in temperatures in

      excess of 90 degrees, in affecting an arrest, where Butch had submitted to police authority,

      had not been violent, had not resisted arrest or attempted to flee, and did not pose any threat

      of physical harm to any officer or person on the scene constitutes excessive force and is a

      deprivation of Butch’s rights under the U.S. Constitution.

   157.      A reasonable law enforcement officer would know that the use of excessive force

      under these circumstances is a violation of constitutionally guaranteed rights and that a

      citizen’s right not to be subjected to excessive force was clearly established and secured at

      the time Defendants beat Butch. See Graham v. Connor, 490 U.S. 386, 397 (1989); Tennessee v.

      Garner, 471 U.S. 1, 11-12 (1985).

   158.      At the time of the actions and/or omissions of Defendants Porcher, Scott, and

      Hulett, 22 O.S. § 34.1 defined “excessive force” as “force which exceeds the degree of

      physical force permitted by law or the policies and guidelines of the law enforcement entity.”

   159.      It is not reasonable to repeatedly manhandle and slam an arrestee to the ground in a

      prone position and place knees and bodyweight on the arrestee’s neck, back, side, and legs

      while the arrestee was profusely sweating, handcuffed, vomiting, defecating himself, and
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   struggling to breath in temperatures in excess of 90 degrees, when affecting an arrest;

   especially where the arrestee had submitted to police authority, followed commands given to

   him, had not been violent, had not resisted arrest or attempted to flee, and did not pose any

   threat of physical harm to any officer or person on the scene.

160.       Defendants Porcher, Scott, and Hulett had a duty to refrain from violating Butch’s

   constitutional right to be free from excessive force.

161.       Any reasonable law enforcement officer would have been aware that the conduct of

   Defendants Porcher, Scott, and Hulett, as described herein, would violate Butch’s

   constitutional rights.

162.       The force that Defendants Porcher, Scott, and Hulett used was excessive and

   unnecessary under the totality of the circumstances.

163.       The excessive force used by Defendants Porcher, Scott, and Hulett upon Butch was

   not justified or privileged under clearly established law.

164.       No legitimate law enforcement objective was accomplished by the degree of such

   force utilized by Defendants Porcher, Scott, and Hulett.

165.       Defendants Porcher, Scott, and Hulett’s use of force was objectively unreasonable,

   as well as intentional, willful, wanton, and in gross, reckless, negligent and/or deliberate

   disregard of Butch’s rights under the Fourth Amendment of the United States Constitution.

166.       The use of force by Defendants Porcher, Scott, and Hulett posed a substantial risk

   of causing death or serious bodily harm that was known to Defendants Porcher, Scott, and

   Hulett, at the time and did in fact cause great bodily harm, mental and emotional injury, and

   dignitary injury.

167.       Butch was aware that he was dying and needed immediate medical attention, while

   Defendants Porcher, Scott, and Hulett manhandled him, interfered with a cursory attempt of
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      paramedics to evaluate Butch at the scene, and deliberately drove him away from medical

      care and to the jail instead. Defendants Porcher, Scott, and Hulett’s actions were indecent,

      inhumane, traumatic, and completely unacceptable in a civilized society.

   168.       The above-described conduct of Defendants Porcher, Scott, and Hulett was a direct

      and proximate cause of the deprivation of Butch’s clearly established Fourth Amendment

      rights, as well as the resulting injuries and damages described below.

   169.       Defendants Porcher, Scott, and Hulett, under color of law, unjustifiably used

      excessive force and, thus, violated Butch’s constitutional rights and are liable for the same.

   170.       As a result of this excessive force, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   171.       As a result of this excessive force, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

COUNT II: FAILURE TO INTERVENE TO PREVENT USE OF EXCESSIVE FORCE
                    IN VIOLATION OF 42 U.S.C. § 1983

   172.       Plaintiff incorporates all previous allegations and statements as if fully restated
      herein.

Defendant Rinkel

   173.       Chief Rinkel participated in the arrest of Butch, was present throughout the entire

      encounter and arrest of Butch and witnessed the unnecessary uses of force carried out by his

      subordinate officers.

   174.       Based on his presence at the scene and his proximity to Butch and Defendants

      Porcher, Scott, and Hulett, Defendant Rinkel had a reasonable opportunity to intervene or

      stop the excessive use of force against Butch by Rinkel’s subordinate officers.
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   175.       Defendant Rinkel did not believe the use of force was necessary at the time of

      Defendants Porcher, Scott, and Hulett’s excessive use of force against Butch.

   176.       Defendant Rinkel had an affirmative duty to prevent another law enforcement

      officer’s use of excessive force. Mick v. Brewer, 76 F.3d 1127 (1996); Fogarty v. Gallegos, 523

      F.3d 1147 (10th Cir. 2008); Jones v. Norton, 809 F.3d 564 (10th Cir. 2015).

   177.       Defendant Rinkel negligently, recklessly, deliberately, and/or unlawfully failed to take

      any reasonable steps to prevent or stop the use of excessive force by Defendants Porcher,

      Scott, and Hulett.

   178.       Despite there being no justification for the force used by officers on Butch while

      already handcuffed, compliant, vomiting, sweating profusely, defecating himself, struggling

      to breathe, and begging to be taken to the hospital, Rinkel stood by and permitted his

      officers to continue their unjustified use of force.

   179.       The above-described failure of Defendant Rinkel was a direct and proximate cause

      of the deprivation of Butch’s clearly-established Fourth Amendment rights, as well as the

      resulting injuries and damages described.

   180.       As a result of this failure to intervene and stop the excessive force, Butch suffered a

      loss of or decreased chance of survival, conscious physical pain and suffering, and/or death.

   181.       As a result of this failure to intervene and stop the excessive force, Butch’s heirs,

      suffered damages including but not limited to, pecuniary loss (including lost wages), grief,

      loss of companionship, pain and suffering.

Defendant Harrelson

   182.       Defendant Harrelson participated in the arrest of Butch, was present throughout the

      entire encounter and arrest of Butch and witnessed the unnecessary uses of force carried out

      by his fellow officers.
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183.       Based on his presence at the scene and his proximity to Butch and Defendants

   Porcher, Scott, and Hulett, Defendant Harrelson had a reasonable opportunity to intervene

   or stop the excessive use of force against Butch by Harrelson’s fellow officers.

184.       Defendant Harrelson did not believe the use of force was necessary at the time of

   Defendants Porcher, Scott, and Hulett’s excessive use of force against Butch.

185.       Defendant Harrelson had an affirmative duty to prevent another law enforcement

   officer’s use of excessive force. Mick v. Brewer, 76 F.3d 1127 (1996); Fogarty v. Gallegos, 523

   F.3d 1147 (10th Cir. 2008); Jones v. Norton, 809 F.3d 564 (10th Cir. 2015).

186.       Defendant Harrelson negligently, recklessly, deliberately, and/or unlawfully failed to

   take any reasonable steps to prevent or stop the use of excessive force by Defendants

   Porcher, Scott, and Hulett.

187.       Despite there being no justification for the force used by officers on Butch while

   already handcuffed, compliant, vomiting, sweating profusely, defecating himself, struggling

   to breathe, and begging to be taken to the hospital, Defendant Harrelson stood by and

   permitted his officers to continue their unjustified use of force.

188.       The above-described failure of Defendant Harrelson was a direct and proximate

   cause of the deprivation of Butch’s clearly-established Fourth Amendment rights, as well as

   the resulting injuries and damages described.

189.       As a result of this failure to intervene and stop the excessive force, Butch suffered a

   loss of or decreased chance of survival, conscious physical pain and suffering, and/or death.

190.       As a result of this failure to intervene and stop the excessive force, Butch’s heirs,

   suffered damages including but not limited to, pecuniary loss (including lost wages), grief,

   loss of companionship, pain and suffering.

COUNT III: DELIBERATELY INDIFFERENT DENIAL OF MEDICAL CARE IN
                   VIOLATION OF 42 U.S.C. § 1983
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   191.         Plaintiff incorporates all previous allegations and statements as if fully restated

      herein.

Defendant Rinkel

   192.         Chief Rinkel was present throughout the entire arrest of Butch, was aware that Butch

      admitted to having taken drugs earlier, and witnessed Butch vomiting, sweating profusely,

      defecating himself, struggling to breathe, and begging to be taken to the hospital.

   193.         Rinkel did nothing to attempt to obtain actual medical care for Butch at the scene of

      his arrest or at the Clinton City Jail.

   194.         At the scene of the arrest, Defendant Rinkel asked for emergency medical services to

      be called to the scene.

   195.         Upon arrival Defendant Sinor’s employees placed a blood pressure cuff and finger

      pulse monitor on Butch.

   196.         However, the conduct of Defendants Porcher and Scott at the scene, prevented

      obtaining any readings on either Butch’s blood pressure or pulse, as they continued to

      repeatedly slam Butch on the ground – including the hot pavement, continued to place their

      knees on his back and to push his head into the ground, despite the fact that Butch was

      handcuffed and had been sitting on the ground, was struggling to breathe, vomiting, and

      defecating himself.

   197.         Defendant Sinor’s employees made no further attempt to evaluate Butch.

   198.         Defendant Rinkel specifically acknowledged that Butch needed medical attention,

      asking his subordinate officers if Butch should be taken to the hospital. Rinkel consented to

      the decision of his subordinate officers, Porcher and Harrelson, not to take Butch to the

      hospital because they believed Butch would just destroy a hospital room.
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   199.         Defendant Rinkel did not ask for Defendant Sinor’s EMTs to follow Butch to the

      jail to attempt to check on him there.

   200.         At the jail, Defendant Rinkel did not perform – or order someone to perform – a

      medical screening of Butch at his arrival to the jail.

   201.         Defendant Rinkel did not leave anyone to monitor Butch’s serious condition, either.

   202.         Defendant Rinkel noticed that Butch was unresponsive in his cell and only ordered

      other officers to check on Butch. He did nothing to provide any necessary emergency

      medical treatment such as CPR. Instead, when he saw Butch unresponsive after all of

      Butch’s symptoms and everything Rinkel had witnessed at the scene of the arrest, Rinkel

      walked away, depriving Butch of valuable time during which he lost his chance of survival.

   203.         As a result of this deliberate indifference, Butch suffered a loss of or decreased

      chance of survival, conscious physical pain and suffering, and/or death.

   204.         As a result of this deliberate indifference, Butch’s heirs, suffered damages including

      but not limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain

      and suffering.

Defendant Harrelson

   205.         Plaintiff incorporates all previous statements and allegations as if restated herein.

   206.         Despite his knowledge of Butch’s obvious, serious medical condition and knowledge

      that Butch was dehydrated and had taken narcotics, Defendant Harrelson specifically told

      Defendant Rinkel and other officers that they would not take Butch to the hospital.

   207.         Defendant Harrelson made this statement despite knowing that Butch needed to be

      medically cleared before being taken to the jail and despite being aware that Defendant

      Sinor’s employees had been unable to check any of Butch’s vital signs at the scene of the

      arrest.
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   208.         When asked by his superior, Defendant Rinkel, if Butch should be taken to the

      hospital, Defendant Harrelson dictated that Butch would not be taken to the hospital

      because Harrelson believed Butch might destroy a hospital room.

   209.         As a result of this deliberate indifference, Butch suffered a loss of or decreased

      chance of survival, conscious physical pain and suffering, and/or death.

   210.         As a result of this deliberate indifference, Butch’s heirs, suffered damages including

      but not limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain

      and suffering.

Defendant Porcher

   211.         Plaintiff incorporates all previous statements and allegations as if restated herein.

   212.         Despite his knowledge of Butch’s obvious, serious medical condition and knowledge

      that Butch was dehydrated and had taken narcotics, Defendant Porcher agreed with

      Defendant Harrelson and specifically told Defendant Rinkel and other officers that they

      would not take Butch to the hospital.

   213.         Defendant Porcher made this statement despite knowing that Butch needed to be

      medically cleared before being taken to the jail and despite being aware that Defendant

      Sinor’s employees had been unable to check any of Butch’s vital signs at the scene of the

      arrest.

   214.         When asked by his superior, Defendant Rinkel, if Butch should be taken to the

      hospital, Defendant Porcher explicitly agreed with Defendant Harrelson’s statement that

      Butch would not be taken to the hospital because Butch might destroy a hospital room.

   215.         As a result of this deliberate indifference, Butch suffered a loss of or decreased

      chance of survival, conscious physical pain and suffering, and/or death.
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   216.         As a result of this deliberate indifference, Butch’s heirs, suffered damages including

      but not limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain

      and suffering.

Defendant Hulett

   217.         Plaintiff incorporates all previous statements and allegations as if restated herein.

   218.         Despite her knowledge of Butch’s obvious, serious medical condition and knowledge

      that Butch was dehydrated and had taken narcotics, Defendant Hulett agreed with

      Defendants Harrelson and Porcher when they specifically told Defendant Rinkel and other

      officers that they would not take Butch to the hospital.

   219.         Defendant Hulett agreed with those statements despite knowing that Butch needed

      to be medically cleared before being taken to the jail and despite being aware that Defendant

      Sinor’s employees had been unable to check any of Butch’s vital signs at the scene of the

      arrest.

   220.         When asked by his superior, Defendant Rinkel, if Butch should be taken to the

      hospital, Defendant Hulett agreed with Defendant Harrelson’s statement that Butch would

      not be taken to the hospital because Butch might destroy a hospital room.

   221.         As a result of this deliberate indifference, Butch suffered a loss of or decreased

      chance of survival, conscious physical pain and suffering, and/or death.

   222.         As a result of this deliberate indifference, Butch’s heirs, suffered damages including

      but not limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain

      and suffering.

Defendant Scott

   223.         Plaintiff incorporates all previous statements and allegations as if restated herein.
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   224.          Despite his knowledge of Butch’s obvious, serious medical condition and knowledge

       that Butch was dehydrated and had taken narcotics, Defendant Scott agreed with

       Defendants Harrelson and Porcher when they specifically told Defendant Rinkel and other

       officers that they would not take Butch to the hospital.

   225.          Defendant Scott agreed with those statements despite knowing that Butch needed to

       be medically cleared before being taken to the jail and despite being aware that Defendant

       Sinor’s employees had been unable to check any of Butch’s vital signs at the scene of the

       arrest.

   226.          When asked by his superior, Defendant Rinkel, if Butch should be taken to the

       hospital, Defendant Scott explicitly agreed with Defendant Harrelson’s statement that Butch

       would not be taken to the hospital because Butch might destroy a hospital room.

   227.          As a result of this deliberate indifference, Butch suffered a loss of or decreased

       chance of survival, conscious physical pain and suffering, and/or death.

   228.          As a result of this deliberate indifference, Butch’s heirs, suffered damages including

       but not limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain

       and suffering.

  COUNT IV: DELIBERATELY INDIFFERENT POLICIES, PRACTICES, AND
CUSTOMS AND DELIBERATELY INDIFFERENT TRAINING AND SUPERVISION
                  IN VIOLATION OF 42 U.S.C. § 1983

   229.          Plaintiff incorporates all previous allegations and statements as if fully restated

       herein.

Defendants Rinkel (official) & City of Clinton – Excessive Force

   230.          Defendants Clinton and Rinkel were aware that, pursuant to 22 O.S. § 34.1, “[e]ach

       law enforcement entity which employs any peace officer shall adopt policies and guidelines

       concerning the use of force by peace officers which shall be complied with by peace officers
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   in carrying out the duties of such officers within the jurisdiction of the law enforcement

   entity.”

231.          The above-described conduct reflects an established policy, practice, custom or

   decision, officially adopted or informally accepted, ratified, and/or condoned by Defendant

   Clinton and Defendant Rinkel that consists of putting officers on the streets without proper

   training and supervision as to when and how to safely, reasonably, and appropriately use

   force against citizens when effectuating an arrest.

232.          The above-described conduct reflects an established policy, practice, custom, or

   decision, officially adopted or informally accepted, ratified, or condoned by Defendant

   Rinkel and Defendant Clinton, and their officials and employees, that consists of dispatching

   officers to situations involving individuals with serious, life-threatening drug overdose

   and/or physical illness without proper training and supervision as to how to encounter and

   communicate with those citizens and avoid unnecessary and unreasonable uses of force.

233.          During all times relevant hereto, there were no guidelines, or wholly inadequate

   guidelines, in place as to the standard of care specific to detainees’/arrestees’ physical and

   mental health. It is common knowledge that drug overdose and/or physical illness is

   prevalent in citizens who encounter police and it is vital that police departments have

   policies in place establishing a constitutionally permissible standard of care for officers to

   follow in order to address this crisis.

234.          Defendant Rinkel was the official policymaker and final decision-maker for the

   Clinton Police Department in the area of law enforcement.

235.          In the alternative, Defendant City of Clinton was the official policymaker and final

   decisionmaker in the area of law enforcement.
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236.       The existence of policies, practices, or customs that are contrary to the contours of

   22 O.S. § 31.4 and a citizen’s Fourth Amendment right to be free from excessive force is

   evidenced by Defendant Rinkel’s presence and participation in the arrest of Butch, and his

   refusal to condemn, stop, or rectify the unlawful uses of force being perpetrated against

   Butch directly in front of him.

237.       In the alternative to paragraph 117, Rinkel’s choice not to say anything to condemn,

   stop, or rectify the unlawful uses of force being perpetrated against Butch directly in front of

   him was consent and ratification of the unlawful use of force or was evidence that the

   actions of the officers in using unlawful force against Butch was, in fact, in line with the way

   things are done at the Clinton Police Department and constitute an informal policy, practice,

   or custom.

238.       It is clearly established law that Defendant Rinkel and/or Clinton must train and

   supervise police officers, deputies, and other law enforcement personnel about proper

   procedures for arrests and the reasonable use of force, including, but not limited to excessive

   force, to reduce the pervasive and unreasonable risk of grave constitutional injury.

239.       Defendant Rinkel and/or Clinton had an affirmative duty to take action to properly

   train and supervise its employees or agents and prevent their unlawful actions.

240.       Defendant Rinkel and/or Clinton failed to properly train and supervise their

   employees or agents in a manner and to an extent that amounts to deliberate indifference.

241.       Defendants Scott, Porcher, and Hulett, engaged in the above-described conduct

   pursuant to this policy, practice, custom, or decision.

242.       Defendant Clinton and Defendant Rinkel had a policy, custom, and procedure of

   not ensuring that officers like Defendants Porcher, Scott, and Hulett were appropriately and
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       adequately trained as to when and under what circumstances force can be used when making

       an arrest.

   243.        Defendants Clinton and Rinkel are required to take action to properly train and

       supervise their employees or agents and prevent their unlawful actions, but failed to do so in

       a manner and to an extent that amounts to deliberate indifference. Defendants Porcher,

       Scott, and Hulett engaged in the above-described conduct pursuant to this policy, practice,

       custom, or decision.

   244.        The need to train and supervise Clinton police officers and law enforcement

       personnel about proper procedures for arrests and the reasonable use of force, including, but

       not limited to, excessive force, to reduce the pervasive and unreasonable risk of grave

       constitutional injury is clearly established in law.

   245.        As a result of this deliberate indifference, Butch suffered a loss of or decreased

       chance of survival, conscious physical pain and suffering, and/or death.

   246.        As a result of this deliberate indifference, Butch’s heirs, suffered damages including

       but not limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain

       and suffering.

Defendants Rinkel (official) & City of Clinton – Medical Care

                                 Policy/practice/custom of denial

   247.        It is clearly established law that Defendant Rinkel and/or Clinton must provide

       obviously needed medical care to arrestees exhibiting signs of drug overdose and/or serious

       physical illness to reduce the pervasive and unreasonable risk of grave constitutional injury.

   248.        Defendant Rinkel and/or Clinton have a policy of not providing obviously needed

       medical care to arrestees exhibiting signs of drug overdose and/or serious physical illness in

       a manner and to an extent that amounts to deliberate indifference, as evidenced by the
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   involvement of the final decision and policymaker for police matters – Defendant Rinkel –

   in the decision not to provide medical care to Butch.

249.      Defendants Scott, Porcher, Hulett, and Harrelson, engaged in the above-described

   conduct pursuant to this policy, practice, custom, or decision.

250.      It is clearly established law that Defendant Rinkel and/or Clinton cannot admit semi-

   conscious persons exhibiting obvious, serious signs of drug overdose and/or severe physical

   illness to the jail without a medical examination of that person to address their obvious,

   serious medical needs.

251.      Defendants Rinkel and/or Clinton had a policy of admitting semi-conscious persons

   exhibiting obvious, serious signs of drug overdose and/or severe physical illness to the jail

   without a medical examination of that person to address their obvious, serious medical needs

   as evidenced by the conduct here and the direct, personal involvement of the final decision

   and policymaker for police matters – Defendant Rinkel – in the decision to take Butch to the

   jail and detain him without any medical examination.

252.      Defendants Scott, Porcher, Hulett, and Harrelson, engaged in the above-described

   conduct pursuant to this policy, practice, custom, or decision.

253.      Defendant Rinkel’s acquiescence to and ratification of Defendants’ Porcher and

   Harrelson’s directives that Butch would not be taken to the hospital despite his obviously

   serious condition and that Defendant Sinor’s employees were unable to check Butch’s vital

   signs to clear him to go to the jail constitutes and official policy or custom of Defendant

   Rinkel and/or Defendant Clinton.

254.      It is clearly established law that Defendant Rinkel and/or Clinton must train and

   supervise police officers, deputies, and other law enforcement personnel about the provision

   of obviously needed medical care to detainees at the City Jail exhibiting signs of drug
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   overdose and/or serious physical illness to reduce the pervasive and unreasonable risk of

   grave constitutional injury.

255.         Defendant Rinkel and/or Clinton failed to properly train and supervise their

   employees or agents regarding proper procedures the provision of obviously needed medical

   care to detainees at the City Jail exhibiting signs of drug overdose and/or serious physical

   illness in a manner and to an extent that amounts to deliberate indifference. Defendants

   Scott, Porcher, Hulett, and Harrelson, engaged in the above-described conduct pursuant to

   this policy, practice, custom, or decision.

256.         Defendant Clinton and Defendant Rinkel had a policy, custom, and procedure of

   not ensuring that officers like Defendants Scott, Porcher, Hulett, and Harrelson were

   appropriately and adequately trained as the provision of obviously needed medical care to

   detainees at the City Jail exhibiting signs of drug overdose and/or serious physical illness.

257.         Defendants Clinton and Rinkel are required to take action to properly train and

   supervise their employees or agents and prevent their unlawful actions but failed to do so in

   a manner and to an extent that amounts to deliberate indifference. Defendants Porcher,

   Scott, Hulett, and Harrelson engaged in the above-described failure to provide medical care

   at the City Jail pursuant to this policy, practice, custom, or decision.

258.         The need to train and supervise Clinton police officers and law enforcement

   personnel about proper procedures the provision of obviously needed medical care to

   detainees at the City Jail exhibiting signs of drug overdose and/or serious physical illness to

   reduce the pervasive and unreasonable risk of grave constitutional injury is clearly established

   in law.
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259.       Defendant Rinkel’s choice not to provide any medical care to Butch at the jail when

   it was obvious Butch was in need of immediate medical care demonstrated the official policy

   or custom of Defendant Rinkel and/or Defendant Clinton.

260.       Each of these actions or inactions of Defendant Rinkel were made with deliberate

   indifference to the health and safety of citizens of Clinton, including Butch Herndon.

261.       As a result of this deliberate indifference, Butch suffered a loss of or decreased

   chance of survival, conscious physical pain and suffering, and/or death.

262.       As a result of this deliberate indifference, Butch’s heirs, suffered damages including

   but not limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain

   and suffering.

                                    Training and Supervision

263.       It is clearly established law that Defendant Rinkel and/or Clinton must train and

   supervise police officers, deputies, and other law enforcement personnel about proper

   procedures for arrests and the provision of obviously needed medical care to arrestees

   exhibiting signs of drug overdose and/or serious physical illness to reduce the pervasive and

   unreasonable risk of grave constitutional injury.

264.       Defendant Rinkel and/or Clinton had a policy, custom, and procedure of not

   ensuring that officers, like Defendants Porcher, Scott, Hulett, and Harrelson, were trained to

   recognize and provide medical care to citizens suffering severe symptoms from a drug

   overdose/serious physical illness while being detained in police custody – whether at the jail

   or at the scene of the arrest.

265.       This policy/custom of failing to properly train and supervise was clearly

   demonstrated and promulgated or continued by Defendant Rinkel, the final policymaker for

   police matters in the City of Clinton, as evidenced by his actions at the scene – not
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   intervening to ensure medical care was obtained for Butch or correct officers’ conduct, he

   asked his subordinate officers whether they should take Butch to the hospital despite not

   having been cleared by Defendant Sinor’s employees and his obviously serious medical

   condition and waited for Defendants Porcher and Harrelson to make a deliberate decision

   not to obtain medical care for Butch, and then went along with that decision.

266.       Defendants Porcher, Scott, Hulett, and Harrelson engaged in the above-described

   conduct pursuant to this policy, practice, custom, or decision.

267.       It is clearly established law that Defendant Rinkel and/or Clinton must train and

   supervise police officers, deputies, and other law enforcement personnel regarding proper

   procedures the provision of obviously needed medical care to detainees at the City Jail to

   reduce the pervasive and unreasonable risk of grave constitutional injury.

268.       Defendant Rinkel and/or Clinton had a policy, custom, and procedure of not

   ensuring that officers, like Defendants Porcher, Scott, Hulett, and Harrelson, were trained to

   recognize and provide medical care to citizens suffering severe symptoms from a drug

   overdose/serious physical illness while being detained in police custody at the City Jail.

269.       This policy/custom was clearly demonstrated and promulgated or continued by

   Defendant Rinkel, the final policymaker for police matters in the City of Clinton, as

   evidenced by his actions at the jail in failing to provide any medical care himself, failing to

   supervise officers as they dragged Butch out of his cell and waited for emergency medical

   services to arrive while Defendant Porcher took pictures of Butch as he lay dying in the

   hallway.

270.       As a result of these deliberately indifferent policies, practices, and/or customs;

   training; and supervision, Butch suffered a loss of or decreased chance of survival, conscious

   physical pain and suffering, and/or death.
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   271.      As a result of these deliberately indifferent policies, practices, and/or customs;

      training; and supervision, Butch’s heirs, suffered damages including but not limited to,

      pecuniary loss (including lost wages), grief, loss of companionship, pain and suffering.

Defendant Sinor

   272.       In the alternative to paragraph 11, and to the extent Defendant Sinor may found to

      have been acting as a state actor and under color of law in their role providing emergency

      care to persons detained at the Clinton City Jail, Defendant Sinor violated Butch’s

      constitutional rights to adequate, necessary medical care while detained.

   273.      Defendant Sinor had a duty to implement policies, procedures, and customs;

      training; and supervision to ensure that their employees, when providing emergency medical

      services to detainees at the Clinton City Jail, provided constitutionally-adequate medical care

      so as to not violate a detainee’s Eight and Fourteenth Amendment rights to necessary

      medical care.

   274.      The above-described conduct of Defendant Sinor’s employees when supposed to be

      providing emergency medical care to Butch at the Clinton City Jail reflects an established

      policy, practice, custom or decision, officially adopted or informally accepted, ratified,

      and/or condoned by Defendant Sinor that consists of sending employees to provide

      emergency medical care without proper training and supervision as to when and how to

      quickly provide life-saving care, including performing CPR, to a detainee who is not

      breathing and is not responsive, is covered in vomit, and has obviously been suffering fecal

      incontinence.

   275.      The existence of policies, practices, or customs that are contrary to the contours of a

      citizen’s Eighth and Fourteenth Amendment right to necessary medical care is evidenced by

      Defendant Sinor’s employees failure to act with any urgency to provide emergency medical
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    care despite their knowledge of the importance of every passing second when providing

    such care to a person in Butch’s condition.

 276.        Defendant Sinor is aware of and has reviewed the conduct of the employees

    responding to the call for emergency medical care for Butch and has found that those

    employees acted in accordance with Sinor’s training, policies, practices, and customs when

    providing care to detainees at the Clinton City Jail.

 277.        Defendant Sinor is required to take action to properly train and supervise its

    employees or agent and prevent their unlawful actions, but failed to do so in a manner and

    to an extent that amounts to deliberate indifference to the health and safety of detainees at

    the Clinton City Jail, including Butch. Defendant Sinor’s employees who responded to the

    call for emergency medical care at the jail engaged in the above-described conduct pursuant

    to this policy, practice, custom, or decision.

 278.        The need to train and supervise Sinor medical employees about proper procedures

    for providing necessary medical care to persons detained at the Clinton City Jail to reduce

    the pervasive and unreasonable risk of grave constitutional injury is clearly established in law.

 279.        As a result of these deliberately indifferent policies, practices, and/or customs;

    training; and supervision, Butch suffered a loss of or decreased chance of survival and/or

    death.

 280.        As a result of these deliberately indifferent policies, practices, and/or customs;

    training; and supervision, Butch’s heirs, suffered damages including but not limited to,

    pecuniary loss (including lost wages), grief, loss of companionship, pain and suffering.

   COUNT V: INDIVIDUAL SUPERVISORY LIABILITY FOR MAINTAINING
 DELIBERATELY INDIFFERENT POLICIES, PRACTICES AND CUSTOMS, AND
DELIBERATELY INDIFFERENT TRAINING AND SUPERVISION IN VIOLATION
                         OF 42 U.S.C. § 1983
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   281.         Plaintiff incorporates all previous allegations and statements as if fully restated

      herein.

Defendant Rinkel

   282.         Defendant Rinkel was personally involved in the arrest of Butch Herndon and

      witnessed his officers repeatedly using unnecessary and excessive force against Butch where

      he had committed only a misdemeanor, was not armed, was not trying to escape and posed

      no threat of harm to anyone.

   283.         Defendant Rinkel stood by in approval of the tactics of Defendants Porcher, Scott,

      and Hulett, and never said or did anything to correct their actions or order that they cease

      the use of excessive force on Butch.

   284.         These actions of Defendants Porcher, Scott, and Hulett, in the presence of and with

      the approval of Defendant Rinkel evidences a policy and practice of the Clinton police

      department, promulgated, created, or maintained by Defendant Rinkel of using excessive

      force against citizens of Clinton.

   285.         The decisions and actions of Porcher, Scott, and Hulett were pursuant to and in

      furtherance of Rinkel’s policy of permitting the use of excessive force against citizens of

      Clinton.

   286.         Defendant Rinkel was personally involved in the arrest and detention of Butch

      Herndon, having witnessed Butch’s obviously serious medical condition and need for

      medical attention at the scene of the arrest and at the jail.

   287.         Rinkel had full knowledge that Butch had taken narcotics, was dehydrated, was

      suffering fecal incontinence, vomiting repeatedly, begging to be taken to the hospital,

      unsteady on his feet, having trouble breathing, and had slurred, erratic speech.
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288.        Rinkel participated in a deliberative discussion with his subordinate officers at the

   scene of the arrest, all of who knew of Butch’s serious condition and symptoms, and reached

   the decision not to take Butch to the hospital despite the inability of EMTs to medically

   evaluate him at the scene of the arrest, pursuant to a custom, policy, procedure, or practice

   of denying necessary medical care to arrestees in obvious, serious medical distress.

289.        Such policy was created, promulgated, or maintained by Defendant Rinkel in

   deliberate disregard of the high probability of medical and constitutional injury to arrestees.

290.        The decisions and actions of Defendants Porcher, Scott, Hulett, and Harrelson in

   denying Butch access to emergency medical care were carried out in furtherance of and as a

   result of the policy created, promulgated, or maintained by Defendant Rinkel.

291.        Defendant Rinkel was at the jail during Butch’s detention and personally found

   Butch non-responsive. He told other officers to check on Butch and walked away, making

   not attempt to assist in providing obviously needed and urgent emergency medical care to

   Butch.

292.        During the timeframe after Rinkel found Butch unresponsive, Defendant Porcher

   stopped his attempt to provide medical care to, instead, hose down a dying man with aerosol

   disinfectant.

293.        During that same timeframe, Defendants Hulett and Scott acted with little urgency in

   beginning life-saving CPR for Butch, causing unnecessary delay in the provision of care to

   Butch.

294.        When EMTs arrived, Defendants Porcher, Scott, Hulett, and Harrelson all failed to

   provide a complete description of Butch’s serious symptoms and did not even tell EMTs

   that Butch had admitted to taking narcotics earlier that day.
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   295.         Each of these actions of subordinate officers were a reflection of the deliberately

      indifferent policy, practice, and/or custom of not providing medical care to persons

      exhuibiting serious and obvious signs of drug overdose or serious physical illness. Such

      policy was promulgated, maintained, or created by Defendant Rinkel.

   296.         Defendants Porcher, Scott, Hulett, and Harrelson all acted without urgency and in

      deliberate disregard to Butch Herndon’s obvious need for immediate medical attention at the

      jail pursuant to and as a result of the policy, practice, and/or custom of Defendant Rinkel.

   297.         Each of these actions or inactions of Defendant Rinkel were made with deliberate

      indifference to the health and safety of citizens of Clinton, including Butch Herndon.

   298.         As a result of Rinkel’s actions/inactions and/or deliberate indifference, Butch

      suffered a loss of or decreased chance of survival, conscious physical pain and suffering,

      and/or death.

   299.         As a result of Rinkel’s actions/inactions and/or deliberate indifference, Butch’s heirs,

      suffered damages including but not limited to, pecuniary loss (including lost wages), grief,

      loss of companionship, pain and suffering.

                                   COUNT VI: NEGLIGENCE

   300.         Plaintiff incorporates all previous allegations and statements as if fully restated

      herein.

Defendant Rinkel

   301.         Defendant Rinkel had a duty to act reasonably when encountering citizens, in an

      effort to prevent harm to Butch and others.

   302.         On August 31, 2021, Defendant Rinkel acted unreasonably and negligently when he

      encountered Butch through his acts and/or omissions, including but not limited to:
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          a. The failure to provide needed medical assistance at the time and scene of Butch’s

              arrest;

          b. The failure to intervene to prevent the use of excessive force against Butch.

   303.       As a result of Defendant Rinkel’s choices and actions on August 31, 2021, Butch

      suffered serious injuries, including death.

   304.       Defendant Rinkel was acting within the scope of his employment at all relevant

      times, such that Defendant Clinton is liable for the damages caused to Butch under the

      Oklahoma Governmental Tort Claims Act.

   305.       In the alternative, Defendant Rinkel was acting outside the scope of his employment

      at all relevant times, such that Defendant Rinkel is personally liable for the damages caused

      to Butch.

   306.       As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   307.       As a result of this negligence, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

Defendant Harrelson

   308.       Defendant Harrelson had a duty to act reasonably when encountering citizens, in an

      effort to prevent harm to Butch and others.

   309.       On August 31, 2021, Defendant Harrleson acted unreasonably and negligently when

      he encountered Butch through his acts and/or omissions, including but not limited to:

          a. The failure to provide needed medical assistance at the time and scene of Butch’s

              arrest;

          b. The failure to intervene to prevent the use of excessive force against Butch.
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   310.       As a result of Defendant Harrelson’s choices and actions on August 31, 2021, Butch

      suffered serious injuries, including death.

   311.       Defendant Harrelson was acting within the scope of his employment at all relevant

      times, such that Defendant Clinton is liable for the damages caused to Butch under the

      Oklahoma Governmental Tort Claims Act.

   312.       In the alternative, Defendant Harrelson was acting outside the scope of his

      employment at all relevant times, such that Defendant Harrelson is personally liable for the

      damages caused to Butch.

   313.       As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   314.       As a result of this negligence, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

Defendant Porcher

   315.       Defendant Porcher had a duty to act reasonably when encountering citizens, in an

      effort to prevent harm to Butch and others.

   316.       On August 31, 2021, Defendant Porcher acted unreasonably and negligently when

      he encountered Butch through his acts and/or omissions, including but not limited to:

          a. The use of excessive force;

          b. The failure to provide needed medical assistance at the time and scene of Butch’s

              arrest; and,

          c. The failure to intervene to prevent the use of excessive force against Butch.

   317.       As a result of Defendant Porcher’s choices and actions on August 31, 2021, Butch

      suffered serious injuries, including death.
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   318.       Defendant Porcher was acting within the scope of his employment at all relevant

      times, such that Defendant Clinton is liable for the damages caused to Butch under the

      Oklahoma Governmental Tort Claims Act.

   319.       In the alternative, Defendant Porcher was acting outside the scope of his

      employment at all relevant times, such that Defendant Porcher is personally liable for the

      damages caused to Butch.

   320.       As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   321.       As a result of this negligence, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

Defendant Hulett

   322.       Defendant Hulett had a duty to act reasonably when encountering citizens, in an

      effort to prevent harm to Butch and others.

   323.       On August 31, 2021, Defendant Hulett acted unreasonably and negligently when he

      encountered Butch through his acts and/or omissions, including but not limited to:

          a. The use of excessive force;

          b. The failure to provide needed medical assistance at the time and scene of Butch’s

              arrest; and,

          c. The failure to intervene to prevent the use of excessive force against Butch.

   324.       As a result of Defendant Hulett’s choices and actions on August 31, 2021, Butch

      suffered serious injuries, including death.
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   325.       Defendant Hulett was acting within the scope of his employment at all relevant

      times, such that Defendant Clinton is liable for the damages caused to Butch under the

      Oklahoma Governmental Tort Claims Act.

   326.       In the alternative, Defendant Hulett was acting outside the scope of his employment

      at all relevant times, such that Defendant Hulett is personally liable for the damages caused

      to Butch.

   327.       As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   328.       As a result of this negligence, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

Defendant Scott

   329.       Defendant Scott had a duty to act reasonably when encountering citizens, in an

      effort to prevent harm to Butch and others.

   330.       On August 31, 2021, Defendant Scott acted unreasonably and negligently when he

      encountered Butch through his acts and/or omissions, including but not limited to:

          a. The use of excessive force;

          b. The failure to provide needed medical assistance at the time and scene of Butch’s

              arrest; and,

          c. The failure to intervene to prevent the use of excessive force against Butch.

   331.       As a result of Defendant Scott’s choices and actions on August 31, 2021, Butch

      suffered serious injuries, including death.
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   332.        Defendant Scott was acting within the scope of his employment at all relevant times,

      such that Defendant Clinton is liable for the damages caused to Butch under the Oklahoma

      Governmental Tort Claims Act.

   333.        In the alternative, Defendant Scott was acting outside the scope of his employment

      at all relevant times, such that Defendant Scott is personally liable for the damages caused to

      Butch.

   334.        As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   335.        As a result of this negligence, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

Defendant Sinor

   336.        Defendant Sinor and its employees had a duty to act reasonably for a person in their

      position in providing medical care to Butch at the Clinton City Jail.

   337.        Defendant Sinor’s employees had been present at the scene of Butch’s arrest, before

      they were called to the jail.

   338.        While Defendant Sinor’s employees were present at the scene of Butch’s arrest, they

      witnessed his deteriorating condition, including his profuse sweating, vomiting, fecal

      incontinence, trouble breathing, facial discoloration, and difficulty breathing.

   339.        The actions of Defendant Sinor’s employees at the Clinton City Jail, as set out above,

      constitute a breach of the duty to act reasonably in providing medical care to Butch at the

      Clinton City Jail.
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   340.        As a result of the failure of Defendant Sinor’s employees to exercise ordinary care in

       providing necessary and potentially lifesaving medical care to Butch at the Clinton City Jail,

       Butch suffered a loss of or decreased chance of survival, and/or death.

   341.        As a result of negligence of Defendant Sinor’s employees at the Clinton City Jail,

       Butch’s heirs, suffered damages including but not limited to, pecuniary loss (including lost

       wages), grief, loss of companionship, pain and suffering.

      COUNT VII: NEGLIGENT HIRING, RETENTION, TRAINING, AND/OR
                            SUPERVISION

City of Clinton

   342.        Defendant Clinton had a duty to refrain from hiring law enforcement employees

       who it had reason to know posed a threat to the safety and/or constitutional rights of

       citizens of the City of Clinton.

   343.        Defendant Clinton knew or should have known of Defendant Rinkel’s disregard for

       citizens’ constitutional rights and his permissive attitude toward the use of excessive force

       and the denial of medical care for serious medical needs.

   344.        Defendant Clinton failed to properly screen, train, and supervise Defendant Rinkel

       in the performance of his duties and in his policymaking for law enforcement matters.

   345.        Defendant Clinton knew or should have known of Defendant Porcher’s disposition

       for excessive force and violence as well as his attitude of deliberate indifference to the

       medical needs of arrestees within the City of Clinton.

   346.        Defendant Clinton had a duty to train and supervise Defendant Porcher to ensure he

       does not use constitutionally-impermissible excessive force and to ensure he properly

       provides medical care to arrestees or detainees in clear need of serious medical attention.
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347.       Defendant Clinton failed to properly screen, train, and supervise Defendant Porcher

   as evidenced by his egregious actions and attitude throughout the arrest, detention, and last

   moments of the life of Butch Herndon.

348.       Defendant Clinton knew or should have known of Defendant Scott’s disposition for

   excessive force and violence as well as his attitude of deliberate indifference to the medical

   needs of arrestees within the City of Clinton.

349.       Defendant Clinton had a duty to train and supervise Defendant Scott to ensure he

   does not use constitutionally-impermissible excessive force and to ensure he properly

   provides medical care to arrestees or detainees in clear need of serious medical attention.

350.       Defendant Clinton failed to properly screen, train, and supervise Defendant Scott as

   evidenced by his egregious actions and attitude throughout the arrest, detention, and last

   moments of the life of Butch Herndon.

351.       Defendant Clinton knew or should have known of Defendant Harrelson’s attitude of

   deliberate indifference to the medical needs of arrestees within the City of Clinton.

352.       Defendant Clinton had a duty to train and supervise Defendant Harrelson to ensure

   he properly provides medical care to arrestees or detainees in clear need of serious medical

   attention.

353.       Defendant Clinton failed to properly screen, train, and supervise Defendant

   Harrelson as evidenced by his egregious actions and attitude throughout the arrest,

   detention, and last moments of the life of Butch Herndon.

354.       Defendant Clinton knew or should have known of Defendant Hulett’s disposition

   for excessive force and violence as well as her attitude of deliberate indifference to the

   medical needs of arrestees within the City of Clinton.
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   355.       Defendant Clinton had a duty to train and supervise Defendant Hulett to ensure she

      does not use constitutionally-impermissible excessive force and to ensure she properly

      provides medical care to arrestees or detainees in clear need of serious medical attention.

   356.       Defendant Clinton failed to properly screen, train, and supervise Defendant Hulett

      as evidenced by her egregious actions and attitude throughout the arrest, detention, and last

      moments of the life of Butch Herndon.

   357.       As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   358.       As a result of this negligence, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

Defendant Rinkel – Official Capacity and Individually

   359.       Defendant Rinkel had a duty to refrain from hiring law enforcement employees who

      it had reason to know posed a threat to the safety and/or constitutional rights of citizens of

      the City of Clinton.

   360.       Defendant Rinkel knew or should have known of Defendant Porcher’s disposition

      for excessive force and violence as well as his attitude of deliberate indifference to the

      medical needs of arrestees within the City of Clinton.

   361.       Defendant Rinkel had a duty to train and supervise Defendant Porcher to ensure he

      does not use constitutionally-impermissible excessive force and to ensure he properly

      provides medical care to arrestees or detainees in clear need of serious medical attention.

   362.       Defendant Rinkel failed to properly screen, train, and supervise Defendant Porcher

      as evidenced by his egregious actions and attitude throughout the arrest, detention, and last

      moments of the life of Butch Herndon.
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363.       Defendant Rinkel knew or should have known of Defendant Scott’s disposition for

   excessive force and violence as well as his attitude of deliberate indifference to the medical

   needs of arrestees within the City of Clinton.

364.       Defendant Rinkel had a duty to train and supervise Defendant Scott to ensure he

   does not use constitutionally-impermissible excessive force and to ensure he properly

   provides medical care to arrestees or detainees in clear need of serious medical attention.

365.       Defendant Rinkel failed to properly screen, train, and supervise Defendant Scott as

   evidenced by his egregious actions and attitude throughout the arrest, detention, and last

   moments of the life of Butch Herndon.

366.       Defendant Rinkel knew or should have known of Defendant Harrelson’s attitude of

   deliberate indifference to the medical needs of arrestees within the City of Clinton.

367.       Defendant Rinkel had a duty to train and supervise Defendant Harrelson to ensure

   he properly provides medical care to arrestees or detainees in clear need of serious medical

   attention.

368.       Defendant Rinkel failed to properly screen, train, and supervise Defendant Harrelson

   as evidenced by his egregious actions and attitude throughout the arrest, detention, and last

   moments of the life of Butch Herndon.

369.       Defendant Rinkel knew or should have known of Defendant Hulett’s disposition for

   excessive force and violence as well as her attitude of deliberate indifference to the medical

   needs of arrestees within the City of Clinton.

370.       Defendant Rinkel had a duty to train and supervise Defendant Hulett to ensure she

   does not use constitutionally-impermissible excessive force and to ensure she properly

   provides medical care to arrestees or detainees in clear need of serious medical attention.
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   371.       Defendant Rinkel failed to properly screen, train, and supervise Defendant Hulett as

      evidenced by her egregious actions and attitude throughout the arrest, detention, and last

      moments of the life of Butch Herndon.

   372.       As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.

   373.       As a result of this negligence, Butch’s heirs, suffered damages including but not

      limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

      suffering.

Defendant Sinor

   374.       Defendant Sinor was negligent in failing to hire and employ competent medical

      personnel, including the employees who responded to the scene of Butch’s arrest and at the

      Clinton City Jail.

   375.       Defendant Sinor knew or should have known of their employees’ carelessness,

      recklessness, and incompetence.

   376.       Defendant Sinor negligently failed to train and supervise their employees on how to

      assess, diagnose, and treat patients like Butch.

   377.       To the extent that Defendant Sinor may be deemed to have been acting as a state

      actor and under color of law in the provision of emergency medical care to Butch at the

      Clinton City Jail, Defendant Sinor failed to act in good faith in carrying out the duties of its

      employment and abused its power, while still acting under the pretense and color of state

      law. As such, Defendant Sinor was outside the scope of its employment/contract.

   378.       As a result of this negligence, Butch suffered a loss of or decreased chance of

      survival, conscious physical pain and suffering, and/or death.
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  379.         As a result of this negligence, Butch’s heirs, suffered damages including but not

     limited to, pecuniary loss (including lost wages), grief, loss of companionship, pain and

     suffering.

CAUSATION OF PLAINTIFF’S INJURIES AND DAMAGES

  380.         Plaintiff incorporates all previous allegations and statements as if fully restated

     herein.

  381.         The injuries and damages sustained by Butch Herndon, and his heirs, were produced

     in a natural and continuous sequence from Defendants’ violation of one or more of the

     above-described independent constitutional and/or state law duties.

  382.         The injuries and damages sustained by Butch Herndon, and his heirs, were a

     probable consequence from Defendants’ violation of one or more of the above-described

     independent constitutional and/or state law duties.

  383.         Defendants should have foreseen and anticipated that a violation of one or more of

     the above-described independent duties would constitute an appreciable risk of harm to

     others, including Butch Herndon and his heirs.

  384.         If Defendants had not violated one or more of the above-described independent

     duties, then Butch Herndon’s death and damages, and the damages of his heirs, would not

     have occurred.

               COMPENSATORY DAMAGES SUSTAINED BY PLAINTIFF

  385.         Plaintiff incorporates all previous allegations and statements as if fully restated

     herein.

  386.         The injuries and damages sustained by Butch Herndon as a result of the Defendants’

     violations of the above-described independent constitutional and/or state law duties include,

     but are not limited to, the following:
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       c. Butch Herndon’s physical pain and suffering;

       d. Butch Herndon’s mental pain and suffering;

       e. Butch Herndon’s age;

       f. Butch Herndon’s physical condition immediately before and after the incident;

       g. The nature and extent of Butch Herndon’s injuries;

       h. Loss of earnings;

       i.    The reasonable expenses of the necessary medical care;

387.         Plaintiff’s injuries and damages include all wrongful death damages pursuant to 12

   O.S. § 1053, including but not limited to: (1) medical and burial expenses; (2) loss of

   consortium and grief, (3) mental pain and anguish of the decedent; (4) pecuniary loss to

   survivors, and (5) grief and loss of companionship to children and/or parents of the

   decedent.

388.         Plaintiff seeks all damages available under federal and state law for the claims alleged

   herein.

                                 AMOUNT OF DAMAGES

389.         The Plaintiff’s injuries and damages are in excess of $20,000,000.00, and in excess of

   the amount required for diversity jurisdiction under 28 U.S.C. § 1332, plus attorney fees,

   interest, costs and all such other and further relief which should be awarded as judgment

   against Defendants in an amount to fully and fairly compensate Plaintiff for each and every

   element of damages that has been suffered.

                                   PUNITIVE DAMAGES

390.         Plaintiff incorporates all previous allegations and statements as if fully restated

   herein.
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391.       Plaintiffs are entitled to punitive damages on claims brought against individual

   Defendants pursuant to 42 U.S.C. § 1983 as Defendants’ conduct, acts, and omissions

   alleged herein constitute reckless or callous indifference to Butch’s federally-protected rights.

392.       Plaintiff is entitled to punitive damages on all other claims pursuant to 12 O.S. §

   1053.

                              DEMAND FOR JURY TRIAL

393.       Plaintiff demands a jury trial for all issues of fact presented by this action.

                    RESERVATION OF ADDITIONAL CLAIMS

394.       Plaintiff reserves the right to plead further upon completion of discovery to state

   additional claims and to name additional parties to this action.

395.       WHEREFORE, Plaintiff prays for judgment against Defendants in a sum in excess

   of $20,000,000.00, and in excess of the amount required for diversity jurisdiction under 28

   U.S.C. § 1332, plus attorney fees, interest, costs and all such other and further relief which

   should be awarded as judgment against Defendants in an amount to fully and fairly

   compensate Plaintiff for each and every element of damages that has been suffered.

                                              Respectfully Submitted,

                                               Laird Hammons Laird, PLLC

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